        Case 1:16-cv-02201-EGS Document 29-1 Filed 08/16/17 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
REPRESENTATIVE TED LIEU, et al.,                )
                                                )
              Plaintiffs,                       )       Civ. No. 16-2201 (EGS)
                                                )
              v.                                )
                                                )
FEDERAL ELECTION COMMISSION,                    )
                                                )
              Defendant.                        )
                                                )

    [PROPOSED] ORDER DENYING FEC’S MOTION TO DISMISS PLAINTIFFS’
                COMPLAINT FOR LACK OF JURISDICTION

       Upon consideration of The Federal Election Commission’s Motion to Dismiss Plaintiffs’

Complaint For Lack Of Jurisdiction, it is this __ day of August, 2017, ORDERED that:

       1. The Motion is DENIED AS MOOT, without prejudice to file a motion to dismiss as

          to the merits of Plaintiffs’ first amended complaint.




Dated: _________________                            ________________________________
                                                    UNITED STATES DISTRICT JUDGE
